  Case 3:23-cr-00454-X Document 41 Filed 12/14/23                     Page 1 of 3 PageID 97




                                       Retu rn of Service
Case No.:               Date and time of restraining order          Copy of restraining order
3:23-CR-454-X           service: 11130/2023,3:02 PM                 served on: Nick Oberheiden
(N.D. Tex - Dallas)
Description of action taken:

Assistant United States Attorney Dimitri Rocha served a copy of the signed restraining order
(Case No.: 3:23-CR-454-X, Document 9) on Nick Oberheiden, attorney for Desi Barroga, via
email atnick@federal-Iawyer.com.




                                           Certification

        I declare under penalty of pelj ury that this return is correct.




Date:   1;;/}3/cJ.oc;?3
                                                         Executing Officer" s Signature
  Case 3:23-cr-00454-X Document 41 Filed 12/14/23                    Page 2 of 3 PageID 98




                                       Return of Service
Case No.:               Date and time of restraining order         Copy of restraining order
3:23-CR-454-X           servIce: 11121/2023, 10:58 AM              served on: Aaron Wiley
(N.D. Tex - Dallas)
Description of action taken:

Assistant United States Attorney Dimitri Rocha served a copy of the signed restraining order
(Case No.: 3:23-CR-454-X, Document 9) on Aaron Wiley, attorney for Deno Barroga, via
email atalwileylaw@gmail.com.




                                          Certification

        I declare under penalty of perjury that this return is correct.




Date:   I JlJ3 ./:;'Od3                                      :;c5)~
                                                        Executing oftii~ture


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                                                        Printed Name and Title
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  Case 3:23-cr-00454-X Document 41 Filed 12/14/23                    Page 3 of 3 PageID 99




                                       Return of Service
Case No.:               Date and time of restraining order         Copy of restraining order
3:23-CR-4S4-X           service: 11116/2023, 12:20 PM              served on: Dary 11Baxter
(N.D. Tex - Dallas)
Description of action taken:

A copy of the signed restraining order (Case No.: 3:23-CR-4S4-X, Document 9) was served
on Daryll Baxter, Fidelity Institutional, via email atDary11.Baxter@fmr.com.




                                          Certification

        I declare under penalty of perjury that this return is correct.




Date:         .
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                                                        Printed Name and Title           AjeVlt
